     Case: 1:23-cv-15159 Document #: 45 Filed: 12/04/23 Page 1 of 2 PageID #:2216



                                 IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

ART ASK AGENCY,                                           )
                                                          )   Case No. 23-cv-15159
                Plaintiff,                                )
                                                          )
                                                          )    Judge Thomas M. Durkin
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                Defendants.                               )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff ART ASK AGENCY
hereby dismisses with prejudice all causes of action in the complaint as to the Defendants identified
below and in Schedule A. No motions are pending relative to these Defendants. Each party shall bear its
own attorney’s fees and costs.


        No.     Defendant
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        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                         Respectfully submitted,
Dated: December 04, 2023                 By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Robert P. McMurray (Bar No. 6324332)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                  Three First National Plaza
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                                                  Attorneys for Plaintiff
                                                  ART ASK AGENCY
    Case: 1:23-cv-15159 Document #: 45 Filed: 12/04/23 Page 2 of 2 PageID #:2217



                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on December 04, 2023.



                                                           s/Michael A. Hierl
